






COURT OF APPEALS

EIGHTH DISTRICT OF TEXAS

EL PASO, TEXAS








DOUGLAS ALLEN STEINBERGER,



                            Appellant,



V.



THE STATE OF TEXAS,



                            Appellee.
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No. 08-07-00208-CR




Appeal from the



97th District Court



of Clay County, Texas 



(TC# 2006-0000014C-CR) 



O P I N I O N


	Douglas Allen Steinberger appeals his conviction for manufacture of a controlled
substance-methamphetamine, 400 grams or more.  He was sentenced to 60 years' imprisonment. 
In a single issue, he contends the trial court erred by denying his motion to suppress because the
affidavit submitted in support of the search warrant was insufficient to establish probable cause. 
We affirm.

	On September 1, 2005, Deputy Sheriff Nicholas Long of the Archer County Sheriff's
office was dispatched to investigate a report of a strong chemical smell in the area of Windthorst
and Hoff Road.  As the deputy drove south on Hoff Road, he passed a mobile home where he 
detected the strong chemical odor associated with the production of methamphetamine.  He
approached the home and knocked on the front door, and after the deputy identified himself,
Appellant answered the door.  When the deputy inquired about the smell of ammonia and ether
emanating from the trailer, Appellant refused to respond and told the deputy that he was going to
return inside the house unless the officer had a search warrant.  At that time, Deputy Long took
Appellant into custody and awaited the arrival of officers from the North Texas Drug Task Force. 
The task force officers made their own observations, and then left the scene to secure a warrant to
search the premises.

	Task Force Officer James Blake provided an affidavit to the magistrate issuing the search
warrant.  In his affidavit, Officer Blake stated that he was called to Appellant's residence by
Deputy Long on September 1, 2005, based on information that a strong chemical odor was
emanating from Appellant's residence.  When Officer Blake arrived on the scene, Deputy Long
advised him of the odors he had witnessed around and coming from inside the house.  Deputy
Long indicated that he associated those odors with the manufacture of methamphetamine. 
Deputy Long also told Officer Blake that he was familiar with the odors associated with meth
production through his experience in prior methamphetamine investigations.  A search warrant
was issued based on Officer Blake's affidavit.  Appellant was arrested and ultimately convicted
for manufacture of a controlled substance, 400 grams or more.

	Prior to trial, Appellant filed a motion to suppress evidence arguing that the search
warrant was constitutionally inadequate because the supporting affidavit failed to establish
probable cause.  The trial court denied Appellant's motion.

	In his sole issue presented for review, Appellant asserts that the motion was erroneously
denied because Officer Blake's affidavit was insufficient to establish probable cause for the
search.  He argues that the affidavit does not adequately support Deputy Long's ability to identify
odors associated with methamphetamine production.  He continues by arguing that although the
affidavit does state that the deputy had been involved in prior meth investigations, it does not
specify the nature or extent of his involvement, nor does it identify any training related to drug
production odor.  He, therefore, concludes that within the four corners of Officer Blake's
affidavit, the magistrate could not have properly determined that probable cause existed.

	We review a trial court's ruling on a motion to suppress with a bifurcated standard, giving
almost total deference to the trial court's determination of historical facts, and reviewing de novo
the court's application of the law to those facts.  Maxwell v. State, 73 S.W.3d 278, 281
(Tex.Crim.App. 2002).  Generally, after granting great deference to the trial court's factual
determinations, we review questions of probable cause de novo.  See Guzman v. State, 955
S.W.2d 85, 87-8 (Tex.Crim.App. 1997).

	Probable cause to support the issuance of a search warrant exists where the facts
submitted to the magistrate are sufficient to justify a conclusion that the object of the search is
probably on the premises to be searched at the time the warrant was issued.  Cassias v. State, 719
S.W.2d 585, 587 (Tex.Crim.App. 1986).  A search warrant affidavit must be read in a common
sense and realistic manner.  See Jones v. State, 833 S.W.2d 118, 123-24 (Tex.Crim.App. 1992). 
The magistrate is permitted to draw reasonable inferences from the facts and circumstances
contained within the four corners of the affidavit.  Cassias, 719 S.W.2d at 587-88.  

	The Texas Court of Criminal Appeals was faced with a very similar situation in Davis v.
State, 202 S.W.3d 149 (Tex.Crim.App. 2006).  In Davis, the Court was presented with the
question of whether an officer affiant's assertion that another officer smelled an order which he
associated with the manufacture of methamphetamine was sufficient to support a finding of
probable cause.  Davis, 202 S.W.2d 155-56.  The Court determined that even without specifying 
the second officer's previous credentials or experience, the magistrate could reasonably have
inferred that the officer's "association" of the odor with methamphetamine production was based
on past experience and training.  See Davis, 202 S.W.3d at 154-57.

	In the case before us, we not only have Officer Blake's recitation that Deputy Long
associated the odors with methamphetamine production, but also the officer's statement that
Deputy Long was able to recognize the odors based on his prior experiences as an officer. 
Therefore, in accordance with Davis, we conclude that the affidavit contained sufficient
information withing its four corners for the magistrate to conclude that probable cause existed to
search Appellant's residence and property.  Accordingly, Appellant's issue is overruled. 

	Having overruled Appellant's sole issue presented for review, we affirm the trial court's
judgment.  



June 17, 2009

						DAVID WELLINGTON CHEW, Chief Justice


Before Chew, C.J., McClure, and Rivera, JJ.


(Do Not Publish)


